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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                         ORDER

              v.
                                                         6:17-CR-06173 EAW
BIN WEN a/k/a Ben,

                     Defendant.




       On February 2, 2018, defendant Bin Wen (“Defendant”) pleaded guilty to a two-count

Information charging (1) a violation of 18 U.S.C. § 1349 (conspiracy to commit wire fraud)

and (2) a violation of 18 U.S.C. § 1957(a) (engaging in monetary transactions in property

derived from specified unlawful activity). (Dkt. 43). On February 6, 2019, Defendant was

sentenced to 33 months on each count, to run concurrently, with three years of supervised

release to follow. (Dkt. 86). On February 25, 2020, after serving his prison time at the Federal

Correctional Institution Satellite Camp in Cumberland, Maryland, Defendant was transferred

to a residential reentry center/halfway house, Hope Village, in Washington, D.C. (hereinafter

“Hope Village”). (Dkt. 99 at 2). The Bureau of Prisons has calculated that Defendant’s

eligibility date for home confinement is July 21, 2020, and his anticipated release date to

supervised release is October 28, 2020. (Id.).

       On April 7, 2020, Defendant filed an Emergency Motion for Release from Hope

Village due to the pandemic caused by the Coronavirus Disease 2019 (“COVID-19”). (Dkt.

99) (hereinafter “Defendant’s Emergency Motion”). The Government has opposed the

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motion. (Dkt. 102). A telephonic oral argument was held on April 10, 2020 (Dkt. 104), after

which Defendant submitted a supplemental declaration concerning his administrative

exhaustion of remedies, as requested by the Court. (Dkt. 105).

       After considering the applicable factors set forth in 18 U.S.C. § 3553(a), the standard

set forth at 18 U.S.C. § 3582(c)(1)(A), and the Policy Statement of the Sentencing

Commission set forth at U.S.S.G. § 1B1.13, the Court hereby finds that extraordinary and

compelling reasons warrant a reduction in Defendant’s sentence; and further finds that the

administrative exhaustion requirement has been satisfied and/or waived; and further finds that

Defendant is not a danger to the safety of any other person or to the community; and further

finds that a reduction in sentence is consistent with the factors set forth in 18 U.S.C. § 3553(a)

and the Policy Statement set forth at U.S.S.G. § 1B1.13;

       Accordingly it is hereby ORDERED as follows:

       1.      Defendant’s Emergency Motion (Dkt. 99) is hereby GRANTED;

       2.      Defendant’s sentence is hereby reduced to TIME SERVED and Defendant is

ordered to be IMMEDIATELY RELEASED. The Court directs the Bureau of Prisons to

immediately commence the process of releasing Defendant from custody, and the United

States Attorney’s Office is directed to take all steps to communicate and facilitate Defendant’s

immediate release;

       3.      Defendant’s conditions of supervised release are modified as follows:

               a.    Following his release, Defendant must be transported directly from Hope

Village to his home at 13507 Coates Lane in Herndon, Virginia, and may not make additional

stops on his return home; and,

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              b.     Upon returning to his home, Defendant must self-quarantine for fourteen

(14) days.

       The Court has issued this Order because of the urgency of Defendant’s Emergency

Motion, but will be issuing a Decision and Order setting forth its reasoning in further detail.

       SO ORDERED.

                                                   ____________________________
                                                    ELIZABETH A. WOLFORD
                                                    United States District Judge
Dated: April 10, 2020
       Rochester, New York




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